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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

JEANICE FARLEY, Individually and on Behalf of )
MICHAEL FARLEY, an Incompetent Adult,         )
                                              )
      Plaintiffs,                             )
                                              )
      v.                                      )             Civil No. 13-cv-261-LM
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
      Defendant.                              )
_________________________________________ )


                                     NOTICE OF APPEAL

        Notice is hereby given that the United States of America, by its attorney Donald Feith,

Acting United States Attorney for the District of New Hampshire, hereby appeals to the United

States Court of Appeals for the First Circuit from the Judgment of this Court entered April 7,

2015.

                                             Respectfully submitted,

                                             DONALD FEITH
                                             Acting United States Attorney

Dated: June 4, 2015                          By: /s/ T. David Plourde
                                             T. David Plourde, NH Bar No. 2044
                                             Assistant U.S. Attorney
                                             Chief, Civil Division
                                             U.S. Attorney’s Office
                                             53 Pleasant Street ~ 4th Floor
                                             Concord, NH 03301
                                             (603) 225-1552
                                             david.plourde@usdoj.gov
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                                CERTIFICATE OF SERVICE

       I certify that on this 4th day of June, 2015, a copy of the above Notice of Appeal was
served via the ECF system on Jamal K. Alsaffar, Esquire, Tom Jacobs, Esquire, and Lawrence
Vogelman, Esquire, counsel for Plaintiffs.

                                                    /s/ T. David Plourde
                                                    T. David Plourde, AUSA




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